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18                            UNITED STATES DISTRICT COURT
19                       SOUTHERN DISTRICT OF CALIFORNIA
20
     MATT PASQUINLLI and BRYAN                     Case No.: 22-cv-0723 AJB BLM
21   PAYSEN, Individually and on Behalf of
     All Others Similarly Situated,                STIPULATION AND JOINT
22                                                 MOTION TO EXTEND TIME TO
                        Plaintiffs,                RESPOND TO COMPLAINT
23   v.                                            PURSUANT TO LOCAL RULES 7.2
                                                   AND 12.1
24   HUMBL, LLC, BRIAN FOOTE,
     JEFFREY HINSHAW, and GEORGE                   Judge:     Hon. Anthony Battaglia
25   SHARP,                                        Dept:      4A
26                      Defendants.                Complaint Filed: May 19, 2022
                                                   Trial: Not Yet Set
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28
                                      1               22-cv-0723 AJB BLM
          STIPULATION AND JOINT MOTION TO EXTEND TIME TO RESPOND TO
                COMPLAINT PURSUANT TO LOCAL RULES 7.2 AND 12.1
     Case 3:22-cv-00723-AJB-BLM Document 7 Filed 07/12/22 PageID.57 Page 2 of 4



 1          TO THE HONORABLE COURT:
 2          Pursuant to Southern District of California Civil Local Rules 7.2 and 12.1, Plaintiffs
 3   Matt Pasquinelli, Bryan Paysen and the Proposed Class (“Plaintiffs”), and Defendants
 4   Humbl, Inc. (erroneously sued as Humbl, LLC), Brian Foote, Jeffrey Hinshaw, and George
 5   Sharp (“Defendants”) (collectively, the “Parties”), by and through their attorneys of record,
 6   jointly move for an Order extending Defendants’ time to file a responsive pleading or
 7   motion until 30 days after the anticipated filing of an amended complaint, which would
 8   follow the Court’s appointment of lead counsel and plaintiffs.
 9          The Private Securities Litigation Reform Act (the “PSLRA”) provides that: (1) the
10   plaintiff who files a securities class action shall publish notice to the purported class within
11   20 days of filing the action informing the class members of their right to seek appointment
12   as lead plaintiff; (2) not later than 60 days after the date on which the notice is published,
13   any member of the purported class may move the court to serve as lead plaintiff of the
14   purported class; and (3) the court shall appoint lead plaintiff and lead counsel. See 15
15   U.S.C. § 77z-1(a)(3)(A) & (B);
16          After the court appoints a lead plaintiff, the lead plaintiff will need to file an amended
17   complaint or deem the existing complaint as the operative complaint.
18          Good causes exists to support this joint motion because extending the deadline for
19   Defendants to respond only to the operative complaint will conserve judicial and party
20   resources.
21          Defendants enter into this stipulation and bring this joint motion without waiving
22   any defenses they may have or may assert.
23   ///
24   ///
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28   ///
                                       2               22-cv-0723 AJB BLM
           STIPULATION AND JOINT MOTION TO EXTEND TIME TO RESPOND TO
                 COMPLAINT PURSUANT TO LOCAL RULES 7.2 AND 12.1
     Case 3:22-cv-00723-AJB-BLM Document 7 Filed 07/12/22 PageID.58 Page 3 of 4



 1          NOW, THEREFORE, Plaintiffs and Defendants, by and through their attorneys of
 2   record, hereby jointly move for an Order adopting this Stipulation to extend Defendants’
 3   responsive pleading or motion deadline until 30 days after the anticipated filing of an
 4   amended complaint, which would follow the Court’s appointment of lead counsel and
 5   plaintiffs.
 6
 7   Dated:                                  Respectfully submitted,
 8                                           DINSMORE & SHOHL LLP

 9                                           By: s/Joseph S. Leventhal
10                                               JOSEPH S. LEVENTHAL
                                                 joseph.leventhal@dinsmore.com
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                                             Attorney for Defendants
12                                           Humbl, LLC, Brian Foote
                                             and Jeffrey Hinshaw
13
14   Dated:                                  SCOTT+SCOTT ATTORNEYS AT LAW LLP
15
                                             By: s/John T. Jasnoch
16                                               JOHN T. JASNOCH
17                                               jjasnoch@scott-scott.com

18                                           Attorney for Plaintiffs
                                             Matt Pasquinelli, Bryan Paysen
19                                           and the Proposed Class

20
     Dated:                                  BROWN & CHARBONNEAU
21
22                                           By: Gregory G. Brown
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24                                           Attorney for Defendant
                                             George Sharp
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                                     3               22-cv-0723 AJB BLM
         STIPULATION AND JOINT MOTION TO EXTEND TIME TO RESPOND TO
               COMPLAINT PURSUANT TO LOCAL RULES 7.2 AND 12.1
     Case 3:22-cv-00723-AJB-BLM Document 7 Filed 07/12/22 PageID.59 Page 4 of 4



 1                    ATTESTATION OF ELECTRONIC SIGNATURES
 2         I, Joseph S. Leventhal, attest that all signatories listed, and on whose behalf this
 3   filing is submitted, concur in the filing’s content and have authorized the filing of this
 4   Stipulation to Extend Time to Respond to Complaint.
 5   Dated: July 12, 2022                                 /s/ Joseph S. Leventhal
                                                          Joseph S. Leventhal
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         STIPULATION AND JOINT MOTION TO EXTEND TIME TO RESPOND TO
               COMPLAINT PURSUANT TO LOCAL RULES 7.2 AND 12.1
